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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

     Plaintiff,
             v.                                     Civil Action No. 20-3590 (JEB)


META PLATFORMS, INC.,

     Defendant.


                                         ORDER

    Having reviewed the parties’ latest [396] Joint Status Report, the Court ORDERS that:

    1. The Court does not believe that there is a need to impose the FTC’s requested witness

       caps. Given that both sides will be submitting witness lists by March 10 with

       estimated times, Meta will have to be more specific at that point, which should offer

       enough time for the FTC to prepare for trial.

    2. As it has previously made clear, the Court is not interested in receiving a substantial

       number of written deposition designations to review after the trial, and it intends to

       largely base its verdict on testimony introduced at trial. Any post-trial deposition

       designations that are not cited in post-trial briefing (or are merely foundational) will

       likely be disregarded. That said, the Court will not categorically bar the post-trial

       submission of such designations nor adopt Meta’s good-cause or ancillary-matter

       requirement. Instead, each party shall identify by February 14 all deposition

       testimony it currently believes it may need to cite in post-trial briefing. This deadline

       does not apply to designations for any witness removed from the opposing party’s



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   “will call” list. By March 17, each party shall disclose any excerpts it will introduce

   at trial or seek to file at the conclusion of the case. If the testimony will not be

   presented at trial, the witness need not appear on a party’s witness list.

3. As to the clock, opening statements (which count against the clock) shall be limited to

   90 minutes each. Closing arguments shall not count against the clock. Questions by

   the Court and time spent answering shall count against the clock and be split equally

   between the parties. Written deposition excerpts submitted after trial shall not count

   against the clock. Objections that take less than a minute to resolve will be charged

   against the party examining the witness unless the Court believes them to be frivolous

   or unnecessary, in which case time penalties may be imposed. Objections that take

   more than a minute to resolve shall be charged against the party who loses the

   objection, but lengthy objections should take place before or after the witness testifies

   and will not count against the clock unless the Court believes that they have no basis.

   Video designations shall be counted by their run time.

4. Each party shall be capped at 900 exhibits.

5. For in limine motions, the parties shall not be limited to a specific number of motions

   but may each not surpass 80 aggregate pages or 20 pages per motion. Oppositions

   may not exceed 80 aggregate pages or 20 pages per motion, and replies may not

   exceed 40 aggregate pages or 10 pages per motion.

6. The Court believes that a tutorial would be helpful. Unless the parties agree on a

   different format, each side would have up to two hours to present the tutorial, which

   must be conducted by an expert or employee (not by an attorney involved in the case)

   and would feature no questions except by the Court. The tutorial would not count




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          against the trial clock and not be evidence in the case. The tutorial would take place

          on a date(s) convenient to the parties from April 7-9.


                                                           /s/ James E. Boasberg
                                                           JAMES E. BOASBERG
                                                           United States District Judge
Date: February 10, 2025




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